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                                IN THE UNITED STATES DISTRICT COURT
                                              FOR THE
                                    NORTHERN DISTRICT OF ILLINOIS

 David D. Wilbon et al,

 Plaintiff(s),
                                                        Case   No. l2cvll32
                                                        Judge M. David Weisman

 Joseph   M. Plovanich et al,

 Defendant(s).

                                     JUDGMENT IN A CIVIL CASE


         Judgment entered in favor of plaintiffs David Wilbon, Rico Wilbon and George Smith and against
defendants Sarah McDermott, Mark Kushiner, Noel Esquivel, Jorge Cerda, and City of Chicago in the amounts
of $225,000 for David Wilbon, $40,000 for Rico Wilbon, and $25,000 for George Smith, which does not
include pre-judgment interest. Post-judgment interest accrues on that amount at the rate provided by law from
the date of this judgment. Plaintif(s) shall recover costs from defendant(s). Judgment entered in favor of
defendants Joseph Plovanich and Officer Milan and against plaintiff David Wilbon. Judgment entered in favor
of defendant Antonio Valentin, and against plaintiffs David Wilbon, Rico Wilbon and George Smith.


This action was:

ffitried by a jury with Judge M. David Weisman presiding,   and the   jury has rendered a verdict.




Date:7/25/18
                                                   M. David Weisman
                                                   United States Magistrate Judge
